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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

DALANEA TAYLOR; TAMMY
HEILMAN; DARLENE DEEGAN;
and ROBERT A. JONES III,

            Plaintiffs,
v.                                      CASE NO.: 8:21-cv-00555-SDM-CPT
CHRIS NOCCO, in his official
capacity as Pasco County Sheriff,

            Defendant,
                                       /



                          JOINT STATUS REPORT
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      Plaintiffs and Defendant, by and through undersigned counsel and pursuant to

the Court’s Order of May 27, 2021 (Dkt. 29), hereby provide the Court with a status

report concerning the progress of discovery. Following the hearing held on November

18, 2021, the parties have worked together in an effort to make progress on the three

issues that were identified and discussed at the hearing.

      First, with respect to the remaining email production, the parties have tentatively

agreed to an approach under which counsel for both parties will jointly review the

emails and attachments over Zoom. This approach should allow for timely and

complete production while minimizing the burden on Defendant. The parties plan to

review a first batch of documents under this approach on December 8.

      Second, with respect to the Plaintiffs’ request for data on prolific offender

checks and code citations, this issue remains and may require Court resolution.

      Third, with respect to depositions, the parties are in the process of scheduling

depositions for the first two weeks of January. The individual Plaintiffs have confirmed

their availability to be deposed the week of January 10. Counsel for Defendant has

confirmed that either he or a colleague will be available both weeks, but Defendant has

not yet confirmed the availability of the necessary PCSO employees.

      Plaintiffs’ Remarks: While the parties have made some progress on these issues

since the last conference, significant work remains to ensure that discovery can be

completed by the deadline set by the Court.


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      At this time, Defendant is refusing to produce requested data on prolific offender

checks and code enforcement citations. The requested data can be readily generated

through a simple database search, and in fact such data has previously been provided

to members of the media. Defendant thus cannot argue the requests are unduly

burdensome. On the other hand, the data is relevant to show a policy or practice, which

is a requirement for liability under Monell. Defendant argues that Plaintiffs might seek

to prove a policy or practice in other ways, but that is properly irrelevant absent some

showing that the data would be difficult to produce.

      With respect to depositions, Plaintiffs are concerned that Defendant has not yet

confirmed the availability of individual witnesses in early January. In addition,

Plaintiffs are concerned that Defendant has not yet identified the witnesses whom the

Defendant may call at trial, and, in fact, Defendant’s interrogatory responses indicate

that Defendant may call any of the approximately 90 deputies who were involved in

visits to Plaintiffs’ homes. If Defendant cannot narrow the potential witnesses who

may be called at trial, that will dramatically expand the number of depositions that will

need to be scheduled in this case. Plaintiffs have asked Defendant to commit to a date

to disclose potential witnesses, but, so far, Defendant has declined.

      Defendant’s Remarks: With regard to depositions of agency personnel,

Plaintiffs have identified approximately ten persons to be deposed, including five road




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patrol deputies.   Efforts are underway to secure availability in specific narrow

timeframes for ease of travel and efficiency.

      As to global data production, Plaintiffs ask that the Defendant perform searches

of certain forms and to then create lists, which do not already exist, of a) all prolific

offender checks since 2015, including persons who are not Plaintiffs; and b) all

issuance of code citations for approximately six different types of code violations, and

again without being narrowed to the named Plaintiffs. Defendant objects to generating

such lists first because they would not be specific to the named Plaintiffs, second

because they are unnecessary (witnesses can describe any generic connection between

prolific offender checks and code violations) and third because the data would be

unreliable in that the manner in which such entries are made is not consistent over time.

The data would be unreliable for any comparison purposes and again would not be

specific to the named Plaintiffs.

      With regard to possible trial witnesses, the problem is that Plaintiffs have

identified approximately 90 incidents involving the named Plaintiffs and deputies. It

is Defendant’s understanding that Plaintiffs will not make an issue at trial of each such

interaction. Until the named Plaintiffs commit to exactly which incidents they will rely

upon at trial as evidence for their case, the Defendant cannot identify the deputies who

might be called as witnesses to trial. Defendant expects that the issue will be

crystalized for both sides once the Plaintiff are deposed in early to mid-January.


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December 6, 2021.                    Respectfully submitted,

/s/ Thomas W. Poulton                /s/ Ari S. Bargil
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 6th day of December, 2021, a true and correct

copy of the foregoing document was served via the Court’s CM/ECF system upon all

counsel of record.

                                     /s/ Ari S. Bargil




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